           Case 22-55367-wlh                          Doc 15         Filed 07/27/22 Entered 07/27/22 13:57:56                               Desc Main
                                                                    Document      Page 1 of 54
                                                                                                                               iLLO.
    Fill in this information to identify your case:                                                                          U,S, BANKRUPTCY COUR
                                                                                                                               NORTHERN DISTRICT
    Debtor 1
                                               rx.                           (I r k:\*           ovr CI)                            li GEORGA
                        First Name                    Middle Nan)                Last Name

    Debtor 2
    (Spouse, if filing) First Name
                                                                                                                                       L27 AN II:118
                                                      Middle Name                  Last Name


    United States Bankruptcy Court for the: Nr,-.-)\( ---\A., District of
                                                                                                                                            Eirf
    Case number
    (If known)                                                                                                                                                     is an
                                                                                                                                                       'ended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                             04/22

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


    Part 1:         Give Details About Your Marital Status and Where You Lived Before


    1. What is your current marital status?

             Married
        /#1 Not married
    2. During the last 3 years, have you lived anywhere other than where you live now?

             No

       p    i Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                              Dates Debtor 1            Debtor 2:                                         Dates Debtor 2
                                                                        lived there                                                                 lived there


                                                                                                  D Same as Debtor 1                               0    Same as Debtor 1
                                 PO'f `00V\J 0 C>C•      )4 VV)
                                                                        From * 0 (                                                                      From
                 Number              Street                                                          Number Street
                                                                        To            9}(7)9A)                                                          To


                 _01_4,SAu
                 City      U                    State ZIFCode                                        City              State ZIP Code

                                                                                                  0 Same as Debtor 1                               0 Same as Debtor 1
                                                                            From                                                                       From
                 Number          Street                                                              Number Street
                                                                        To                                                                              To



                 City                           State ZIP Code                                       City              State     ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       Ai No
        0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

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                                 livu,•)-,/uv             (6lN0--          6\c- ,                                                                    —2.
                                                                                                                                                        Th
                                                                                                                                                           •
Debtor 1
                 First Name     Middle Name     )     Last Name
                                                                                                         Case number (if known)




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                            Debtor                                                 Debtor 2

                                                            Sources of Income            Gross Income              Sources of Income             Gross Income
                                                            Check all that apply.        (before deductions and    Check all that apply.         (before deductions and
                                                                                         exclusions)                                             exclusions)

            From January 1 of current year until             •    Wages, commissions,                               U Wages, commissions,
                                                                  bonuses, tips                                       bonuses, tips
            the date you filed for bankruptcy:
                                                             •    Operating a business                              U     Operating a business


            For last calendar year:                          U Wages, commissions,                                  U Wages, commissions,
                                                               bonuses, tips                                          bonuses, tips
            (January 1 to December 31,
                                              YYYY
                                                             O Operating a business                                 0 Operating a business

            For the calendar year before that:               O Wages, commissions,                                  •     Wages, commissions,
                                                               bonuses, tips                                              bonuses, tips
            (January 1 to December 31,
                                              YYYY
                                                            D Operating a business                                  •     Operating a business



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    Clid No
     U     Yes. Fill in the details.

                                                            Debtor 1                                                    Debtor 2

                                                            Sources of Income            Gross Income from              Sources of Income        Gross Income from• •
                                                            Describe below.              each source                    Describe below.          each source
                                                                                         (before deductions and                                  (before deductions arid
                                                                                         exclusions)                                             exclusions)



            From January 1 of current year until
            the date you filed for bankruptcy:




            For last calendar year:

            (January 1 to December 31




            For the calendar year before that:

            (January 1 to December 31,




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Debtor 1
                                 iA.10
                                                        , ' Ai\fijk   -WM (3                      Case number (irknom)              S53
              First Name       Middle Name           Last Name



  Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              U No. Go to line 7.

              U Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                     total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                     child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

    62 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             a      llo. Go to line 7.

              U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                     creditor. Do not include payments for domestic support obligations, such as child support and
                     alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of    Total amount paid         Amount you still owe    Was this payment for...
                                                                       payment


                                                                                                                                     U Mortgage
                     Creditor's Name
                                                                                                                                     L3 Car
                     Number    Street                                                                                                U Credit card
                                                                                                                                     U Loan repayment
                                                                                                                                     U Suppliers or vendors

                     City                    State       ZIP Code                                                                    U Other



                                                                                                                                     U Mortgage
                     Creditor's Name
                                                                                                                                     U Car

                     Number    Street                                                                                                U Credit card
                                                                                                                                        Lnan repayment
                                                                                                                                     U Suppliers or vendors
                                                                                                                                     U Other
                     City                    State       ZIP Code




                                                                                                                                     U Mortgage
                     Creditor's Name
                                                                                                                                     U Car

                     Number    Street                                                                                                U Credit card
                                                                                                                                     U Loan repayment
                                                                                                                                        Suppliers or vendors
                                                                                                                                     U Other
                     City                    State       ZIP Code




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Debtor 1                                                                                            Case number (if known)
                                                                                                                                                /   (6
                                                                                                                                                      )'
                                                                                                                                                           7-
                   irs! Name      Middle Name           Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

           No
     0 Yes. List all payments to an insider.
                                                                         Dates of    Total amount      Amount you still      Reason for this payment
                                                                         payment     paid              owe


            Insider's Name



            Number       Street




            City                                State   ZIP Code




            Insider's Name


            Number       Street




            City                                State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

    ji     No
     D Yes. List all payments that benefited an insider.
                                                                        Dates of     Total amount      Amount you still Reason for this payment
                                                                        payment      paid              owe              Include creditor's name


            Insider's Name



            Number       Street




            City                                State   ZIP Code




           Insider's Name



           Number       Street




           City                                 Slate   ZIP Code




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Debtor 1                                                       (2, t*Apiv                                     Case number orknow,”               S          (-°
                Firs1 Name            Middle Name            Lag Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
     0 Yes. Fill in the details.
                                                                   Nature of the case                   Court or agency                                 Status of the case


            Case title                                                                                 Court Name
                                                                                                                                                        O Pending
                                                                                                                                                        O On appeal
                                                                                                       Number     Street                                O Concluded

            Case number
                                                                                                       City                   State   ZIP Code




            Case title                                                                                 Court Name
                                                                                                                                                        O Pending
                                                                                                                                                        O On appeal
                                                                                                       Number     Street                                O Concluded

            Case number
                                                                                                       City                   State   ZIP Code



  lo. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

    #      No. Go to line 11.
     0 Yes. Fill in the information below.
                                                                             Describe the property                                     Date           Value of the property



                 Creditors Name



                 Number      Street                                          Explain what happened

                                                                             O    Property was repossessed.
                                                                             0    Property was foreclosed.
                                                                             O    Property was garnished.
                 City                               State   ZIP Code         0    Property was attached, seized, or levied.

                                                                             Describe the property                                     Date            Value of the property




                Creditor's Name



                 Number      Street
                                                                             Explain what happened

                                                                                  Property was repossessed.
                                                                                 Property was foreclosed.
                                                                                 Property was garnished.
                City                                State   ZIP Code
                                                                                 Property was attached, seized, or levied.



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Debtor 1                                    I     Q                                                          Case number (,!known)                 cD -5
                  First Name      Middle Name                Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

      Ar No
      El Yes. Fill in the details.

                                                                     Describe the action the creditor took                           Date action      Amount
                                                                                                                                     was taken
           Creditors Name


           Number     Street




           City                           State       ZIP Code      Last 4 digits of account number: XXXX—


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?


      D Yes

  Part 5:         List Certain Gifts and Contributions



  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

  z   tEY No
      U    Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600             Describe the gifts                                               Dates you gave        Value
             per person                                                                                                              the gifts




           Person to Whom You Gave the Gift




           Number     Street


           City                           State   ZIP Code

           Person's relationship to you


           Gifts with a total value of more than $600               Describe the gifts                                               Dates you gave    Value
           per person                                                                                                                the gifts



           Person to Whom You Gave the Gift




           Number    Street


           City                           State   ZIP Code

           Person's relationship to you



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Debtor 1
                    First Name
                                   IN/ L‹)1/11
                                   Middle Name               Last Name
                                                                                                                Case number (i Mom')                       3

  14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No
            Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                    Describe what you contributed                                        Date you              Value
             that total more than $600                                                                                                   contributed




            Charity's Name




           Number       Street



           City            State       ZIP Code




  Part 6:            List Certain Losses


  15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

    16    No
        U Yes. Fill in the details.

             Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      , Value of property
             how the loss occurred                                                                                                       loss                lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule NB: Property.




                    List Certain Payments or Transfers

  14.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    t      No
    ,
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or       Amount of payment
                                                                                                                                         transfer was
             Person Who Was Paid                                                                                                         made


             Number       Street




             City                        State    ZIP Code


            Email or website address

            Person Who Made the Payment, if Not You


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Debtor 1                                                                                                    Case number (if known)
                    First Name     Middle Name              Lag Name




                                                                   Description and value of any properly transferred                 Date payment or      Amount of
                                                                                                                                     transfer was made    payment

             Person Who Was Paid



             Number       Street




             City                      State     ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.



     U     Yes. Fill in the details.

                                                                  Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                     transfer was
                                                                                                                                     made
             Person Who Was Paid



             Number       Street




             City                       State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
           not include gifts and transfers that you have already listed on this statement.

    A0
           No
           Yes. Fill in the details.

                                                                  Description and value of property         Describe any property or payments received      Date transfer
                                                                  transferred                               or debts paid In exchange                       was made

            Person Who Received Transfer



            Number       Street




            City                       Stale     ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number       Street




            City                       State     ZIP Code

            Person's relationship to you

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Debtor 1                                                                                                    Case number orknown)               c)
                   First Name     Middle Name              Last Name




  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

    /d     No
     U Yes. Fill in the details.

                                                                  Description and value of the property transferred                                          Date transfer
                                                                                                                                                             was made


           Name of trust




                List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

  20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

   AUi'rf Yes.
          No
               Fill In the details.

                                                                   Last 4 digits of account number    Type of account or           Date account was       Last balance before
                                                                                                      instrument                   closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred

            Name of Financial Institution
                                                                   X)(XX—                                 Checking

            Number       Street                                                                       U Savings
                                                                                                      U Money market
                                                                                                      LI Brokerage
            City                       State    ZIP Code
                                                                                                      U Other


                                                                   XXXX—                              U Checking
            Name of Financial Institution
                                                                                                      U Savings
            Number       Street                                                                       U Money market
                                                                                                      U Brokerage
                                                                                                      LI Other
            City                       State    ZIP Code


 21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
    se rities, cash, or other valuables?
           No
     U Yes. Fill in the details.
                                                                   Who else had access to it?                    Describe the contents                           Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 U   No
            Name of Financial Institution                         Name                                                                                           U Yes


           Number       Street                                    Number   Street



                                                                  City       State    ZIP Code

           City                       State     ZIP Code



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Debtor 1
                        A             V                                                           )                    Case number or /mown)
                    First Name       Middle Name               Last Name



 22.H ve you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     As No
      El Yes. Fill in the details.
                                                                      Who else has or had access to It?                      Describe the contents            Do you still
                                                                                                                                                              have it?

                                                                                                                                                              El No
             Name of Storage Facility                                 Name
                                                                                                                                                              El Yes

            Number          Street                                    Number    Street


                                                                      CityState ZIP Code

             City                         State     ZIP Code



                      Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
       r old in trust for someone.
     ilill No
      El Yes. Fill In the details.
                                                                     Where Is the property?                                  Describe the property        Value


             Owner's Name

                                                                    Number     Street
            Number          Street



                                                                    City                          State     ZIP Code
             City                         State     ZIP Code

                      Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize It, including disposal sites.

 •    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      g)No
           Yes. Fill in the details.
                                                                     Governmental unit                          Environmental law, if you know it        Date of notice



           Name of site                                             Governmental unit


           Number       Street                                      Number     Street


                                                                    City                 State   ZIP Code



           City                         State      ZIP Code



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                                                                                                                                                                    S
Debtor 1                                                                      i                                                Case number    known)
                   First Naive     Middle Naive                  Last 1,1
                                                                        15
                                                                         arne




  25. Have you notified any governmental unit of any release of hazardous material?

    %No
    0 Yes. Fill In the details.
                                                                          Governmental unit                                Environmental law, if you know it                   Date of notice



            Name of site                                                 Governmental unit


            Number        Street                                         Number      Street



                                                                         City                   State    ZIP Code


            City                        State         ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
     O     Yes. Fill in the details.
                                                                                                                                                                                Status of the
                                                                            Court or agency                                     Nature of the case
                                                                                                                                                                                case

           Case title
                                                                                                                                                                                O Pending
                                                                            Court Name
                                                                                                                                                                                O   On appeal
                                                                            Number     Street                                                                                   O Concluded


           Case number                                                      City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        O A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        O A member of a limited liability company (LLC) or limited liability partnership (LLP)
        O A partner in a partnership
        O An officer, director, or managing executive of a corporation
           O An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
     g     Yes. Check all that apply above and fill in the details below for each business.
                                                                            Describe the nature of the business                               Employer Identification number
                                                                                                                                              Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                              EIN:             —
            Number        Street
                                                                            Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                              From                 To
            City                        State         ZIP Code
                                                                           Describe the nature of the business                                Employer Identification number
                                                                                                                                              Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                              SIN:             —
            Number        Street
                                                                            Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                              From                 To
            City                        State     ZIP Code


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                                     r 41/1                               )(10\4-y'\---)
Debtor 1             , t ;76                                                                            Case number Of known)   7                      C.?
                  First Name       Middle Name          Last Name




                                                                                                                       Employer Identification number
                                                                Describe the nature of the business
                                                                                                                       Do not include Social Security number or ITIN.
           Business Name

                                                                                                                       EIN:

           Number         Street
                                                                Name of accountant or bookkeeper                       Dates business existed



                                                                                                                       From
           City                         State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     U No
     U Yes. Fill in the details below.

                                                                Date issued



           Name                                                 MM/DO / YYYY



           Number         Street




           City                         State    ZIP Code




 Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           Signature of Debtor 1                                                Signature of Debtor 2


           Date It) -5                                                          Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      6' No
      U    Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      Yi NO
      U Yes. Name of person                                                                                   . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:



Debtor 1                                              li tY
                                                                              0,\Pv\ --\11 (Nr 1' )
                      First Name                  Middle Name                    Last Name

Debtor 2
(Spouse, if filing)   First Name                  Middle Name                    Last Name


United States Bankruptcy Court for the:                         District of

Case number                                     LP
                                                                                                                                                  LI Check if this is an
                                                                                                                                                     amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?


    g    No. Go to Part 2.
         Yes. Where is the property?
                                                                          What is the property? Check all that apply.
                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                          O    Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                          O    Duplex or multi-unit building
              Street address, if available, or other description
                                                                          O Condominium or cooperative                      Current value of the     Current value of the
                                                                          O Manufactured or mobile home                     entire property?         portion you own?
                                                                          O    Land
                                                                          O    Investment property
                                                                          O    Timeshare                                    Describe the nature of your ownership
              City                            State      ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                          O    Other
                                                                                                                            the entireties, or a life estate), if known.
                                                                          Who has an interest in the property? Check one.
                                                                          0 Debtor 1 only
              County                                                          Debtor 2 only
                                                                          0 Debtor 1 and Debtor 2 only                      U Check if this Is community property
                                                                                                                                (see instructions)
                                                                          CI At least one of the debtors and another
                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:
    If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.
                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                         O    Single-family home                            the amount of any secured claims on Schedule D:
      1.2.                                                                                                                  Creditors Who Have Claims Secured by Properly.
                                                                         O    Duplex or multi-unit building
             Street address, if available, or other description
                                                                         O Condominium or cooperative                       Current value of the     Current value of the
                                                                         O    Manufactured or mobile home                   entire property?         portion you own?
                                                                         O    Land
                                                                         O    Investment property
                                                                        O     Timeshare
                                                                                                                            Describe the nature of your ownership
             City                            State       ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                        O     Other                                         the entireties, or a life estate), If known.
                                                                        Who has an interest in the property? Check one
                                                                        0 Debtor 1 only
             County                                                     0 Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                        U Check if this is community property
                                                                        0 At least one of the debtors and another              (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property Identification number:


Official Form 106A/B                                                     Schedule A/B: Property                                                              page 1
            Case 22-55367-wlh                             Doc 15          Filed 07/27/22 Entered 07/27/22 13:57:56                                Desc Main
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  Debtor 1
                          aL
                      First Name   '   Middle Nests
                                                            Pz?    I
                                                             Last Name
                                                                       v   — fk vi A. C 7
                                                                                                   Case number (6' known)
                                                                                                                          7-- '1—                 S         1-
                                                                         What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                         U Single-family home                              the amount of any secured claims on Schedule D:
       1.3.                                                                                                                Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description         U Duplex or multi-unit building
                                                                         U Condominium or cooperative                      Current value of the       Current value of the !
                                                                                                                           entire property?           portion you own?
                                                                         U Manufactured or mobile home
                                                                         U Land
                                                                         ▪   Investment property
              City                                State    ZIP Code      U   Timeshare                                     Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                         U Other                                           the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         U Debtor 1 only
              County
                                                                         U Debtor 2 only
                                                                         U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                         U At least one of the debtors and another           (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:


' 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here.                                                                                    4




 Part 2;       Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles


   ) e.1 No
    U Yes


     3.1,     Make:                                                      Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
              Model:                                                     U Debtor 1 only
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                         U Debtor 2 only
              Year:                                                                                                        Current value of the       Current value of the
                                                                         U Debtor 1 and Debtor 2 only
              Approximate mileage:                                                                                         entire property?           portion you own?
                                                                         U At least one of the debtors and another
              Other information:
                                                                         U Check if this is community property (see
                                                                           instructions)



    If you own or have more than one, describe here:

     3.2.     Make:                                                      Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
              Model:                                                     U Debtor 1 only
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                         U Debtor 2 only
              Year:                                                                                                        Current value of the       Current value of the
                                                                         U Debtor 1 and Debtor 2 only
              Approximate mileage:                                                                                         entire property?           portion you own?
                                                                         U At least one of the debtors and another
              Other information:
                                                                         U Check if this is community property (see
                                                                           instructions)




 Official Form 106A/B                                                    Schedule A/B: Property                                                             page 2
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 Debtor 1           ( 61 bL\_-
                 First Name      Middle Name
                                                                                                     Case number (a' known)
                                                                                                                                            I

                                                  Last Name




    3.3.    Make:                                              Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
            Model:                                             D Debtor 1 only
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
            Year:                                                                                                        Current value of the        Current value of the
                                                               0 Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                         entire property?            portion you own?
                                                               0 At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see
                                                                  instructions)


    3.4.    Make:                                              Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
            Model:                                             0 Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
            Year:                                                                                                        Current value of the        Current value of the
                                                               0 Debtor 1 and Debtor 2 only                              entire property?            portion you own?
            Approximate mileage:                               0 At least one of the debtors and another
            Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
  (153) No
   U Yes


    4.1.    Make:                                             Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claims on Schedule D:     ,
            Model:                                            0 Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:
                                                              0 Debtor 1 and Debtor 2 only                               Current value of the        Current value of the
            Other information:                                    At least one of the debtors and another                entire property?            portion you own?


                                                               0 Check if this is community property (see
                                                                  instructions)



   If you own or have more than one, list here:

    4.2.    Make:                                             Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claims on Schedule D:
            Model:                                               Debtor 1 only
                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:                                                                                                       Current value of the         Current value of the
                                                              0 Debtor 1 and Debtor 2 only                              entire property?             portion you own?
            Other information:                                0 At least one of the debtors and another

                                                              0 Check if this Is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here                                                                                    4




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 Debtor 1
                     A-                              C?o(co        eArcrb       Case number owiowni
                                                                                                                                   C:
                First Name       Middle Name     Last Name




Part 3:      Describe Your Personal and Household Items

                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims ,
                                                                                                                              or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   (Lf No
    O Yes. Describe


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe        [ (AA L5ON2,                                                                                      s        r2co
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   01 No
   CI Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   0 No
   O Yes. Describe


10.Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No

   p   i Yes. Describe.
                             [
11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   El   No
   #    Yes. Describe



12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   b 7 No
   O Yes. Describe                                                                                                             $

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

  g     No
        Yes. Describe


14.Any other personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific
        information.

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                 $        ‘3,0
    for Part 3. Write that number here                                                                                    4

Official Form 106A/B                                         Schedule A/B: Property                                                        page 4
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                First Name
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                             middle Name
                                                     1) Yk)- 1/v1
                                                   Last Name
                                                                       —                      Case number (rknown)                       3
Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   ij   No
        Yes                                                                                                  Cash:



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
  lel No
   U Yes                                                         Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.8. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
   U Yes                     Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and Joint venture


  pi No
   U Yes. Give specific
                             Name of entity:                                                                % of ownership:
                                                                                                             0%          %           $
     information about
     them                                                                                                    0%          %           $
                                                                                                             0%          %           $




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                                                                                                Case number ((known)             S     3. (,2
               First Name     Middle Name   /        Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
       Yes. Give specific     Issuer name:
       information about
       them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       No
    U Yes. List each
      account separately. Type of account:              Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                              Keogh:

                              Additional account:

                              Additional account:



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others



   U Yes                                            Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit:

                             Prepaid rent:

                             Telephone:

                             Water:

                             Rented furniture:

                             Other:



23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

  '4 No
   U Yes                      Issuer name and description:




Official Form 106A/B                                              Schedule A/B: Property                                                    page 6
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                                                                          tkAnr9        Case number (rknown)
                 First Name      Middle Name   )     Last Name




' 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

    y   No
     U Yes. Give specific
       information about them....


 26.Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
    13 Yes. Give specific
       information about them....


 27.Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

        No
    U Yes. Give specific
      information about them....


 Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                          •   portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

 28. Tax refunds owed to you
   )4) No
    U Yes. Give specific information                                                                                Federal:
           about them, including whether
           you already filed the returns                                                                            State:
           and the tax years.
                                                                                                                    Local:


 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    eNo
        Yes. Give specific information
                                                                                                                   Alimony:
                                                                                                                   Maintenance:
                                                                                                                   Support:
                                                                                                                   Divorce settlement:
                                                                                                                   Properly settlement:

 30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
               Social Security benefits; unpaid loans you made to someone else
   )Z9No
        Yes. Give specific information...........




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                      1.2k,
                                   ( I.--
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                First Name        Middle Name        Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

   00 No Yes. Name the insurance company            Company name:                                           Beneficiary:                             Surrender or refund value:
              of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    pro erty because someone has died.
         No
    CI   Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

    0 1 No
    O Yes. Describe each claim


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    ofNo
    O Yes. Describe each claim




   g
35. Any financial assets you did not already list

         No
         Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                    4                 (.9



Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   AI    No. Go to Part 6.
    0    Yes. Go to line 38.

                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38.Accounts receivable or commissions you already earned
   O No
   0     Yes. Describe        [


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

         No
   O Yes. Describe




Official Form 106A/B                                              Schedule A/B: Property                                                                          page 8
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                                                                                          Case number (own)          Z        S     3        7-
                First Name    Middle Name         Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    O No
    O Yes. Describe



41. Inventory
     O No
     O Yes. Describe


42. Interests in partnerships or joint ventures
   1:1 No
   O Yes. Describe....... Name of entity;                                                                 % of ownership:




43. Customer lists, mailing lists, or other compilations
    El No
    CI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  No
              0   Yes. Describe.



44.Any business-related property you did not already list
   • No
   LI Yes. Give specific
      information




45. Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached
    for Part 5. Write that number here                                                                                   4


Part 6:       Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest In farmland, list It In Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       9 No. Go to Part 7.
  -M Yes. Go to line 47.
                                                                                                                             Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured claims
                                                                                                                             or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

   O    No
   •    Yes




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                              (si                                                        Case number (If known)
               First Name     Middle Name       Last Name




48.Crops—either growing or harvested
    O 1\lo
    0 Yes. Give specific r
      information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    U No
    El Yes



50. Farm and fishing supplies, chemicals, and feed
    • No
    LI Yes



61.Any farm- and commercial fishing-related property you did not already list
   O No
   U Yes. Give specific [
     information.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here                                                                                4



Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   )'No
    U Yes. Give specific
      information.




54.Add the dollar value of all of your entries from Part 7. Write that number here                                    4



Part 8:      List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                   4

56.Part 2: Total vehicles, line 5

57.Part 3: Total personal and household items, line 15                         $   01%
58.Part 4: Total financial assets, line 36                                     s

59.Part 5: Total business-related property, line 45

60.Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54

62.Total personal property. Add lines 56 through 61.                                       Copy personal property total 4   +$



63. Total of all property on Schedule A/B. Add line 55 + line 62



Official Form 106A/B                                         Schedule A/B: Property                                               page 10
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 Fill in this information to identify your case:

  Debtor 1
                                             1\ AlArkt,
                                                                           roNivl       04'
                     First Name               Middle Name                 Last Name

  Debtor 2
  (Spouse, If filing) First Name              Middle Name                 Last Name

  United States Bankruptcy Court for the:   vwIA4           istrict of

  Case number                                                                                                                                 Check if this is an
  (If known)
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health alds, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     )4 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                             Copy the value from      Check only one box for each exemption.
                                                             Schedule NB

      Brief
      description:                                                                       $
      Line from                                                                       0 100% of fair market value, up to
      Schedule A/B:                                                                      any applicable statutory limit


      Brief
      description:                                                                       $
      Line from                                                                       0 100% of fair market value, up to
      Schedule NB:                                                                       any applicable statutory limit

      Brief
      description:                                                                       $
      Line from                                                                       0 100% of fair market value, up to
      Schedule /VB .                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
     U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           U      No
           CI Yes


Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                          page 1 of _
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Debtor 1
                     •    t
                                (L-I/t5            0,ft(b-vv‘_-1)(N/Y -C                     Case number (W known)
              Firs Name       Middle Name      Last Name




  Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule NB that lists this property          portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
     description:                                                             0$
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             0$
     Line from                                                                CI 100% of fair market value, up to
     Schedule NB:                                                                any applicable statutory limit


     Brief
     description:                                                             0$
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             0$
     Line from                                                                0 100% of fair market value, up to
     Schedule NB:                                                                any applicable statutory limit

     Brief
     description:                                                             0$
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Os
     Line from                                                                0 100% of fair market value, up to
     Schedule NB: -                                                              any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Ds
     Line from                                                                CI 100% of fair market value, up to
     Schedule NB:                                                                any applicable statutory limit


     Brief
     description:                                                             0$
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                                $
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                                any applicable statutory limit


     Brief
     description:                                                             0$
     Line from                                                                O 100% of fair market value, up to
     Schedule NB: -                                                             any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                     page   2 of
             Case 22-55367-wlh                          Doc 15         Filed 07/27/22 Entered 07/27/22 13:57:56                                         Desc Main
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 Fill in this information to identify your case:

 Debtor 1                                                                                      1 (\yr
                     First Name                    Middle Name                  Last Name
 Debtor 2
 (Spouse, if riling) First Name                    Middle Name                  Last Name

 United States Bankruptcy Court for the: 145'61-RA4              District of   61
 Case number
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing

 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             NO. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


                 List All Secured Claims
                                                                                                                           Column A               Column B              Column C
12.List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount
                                                                                                               of claim                           Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                          that supports this    portion
                                                                                                                           Do not deduct the
      As much as possible, list the claims in alphabetical order according to the creditor's name.                         value of collateral.   claim                 If any

       litAur (ikf)               (44- t\c104               Describe the property that secures the claim:                  $       tem)
      Creditors Name
                     So
      Number            Street
                                                                 10--(Air              k.11\

                                                            As of the date you file, the claim Is: Check all that apply.
                                                                  Contingent
                                              '36C-APJAU Unliquidated
      City                           State   ZIP Code       U     Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
        Debtor 1 only                                     /11 An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
  U Debtor 1 and Debtor 2 only                             1:1 Statutory lien (such as tax lien, mechanic's lien)
  CI At least one of the debtors and another               El Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
 U Check if this claim relates to a
    community debt
 Date debt was Incurred }"I'.) n k                          Last 4 digits of account number 0         1_        \
2.2
                                                            Describe the property that secures the claim:
      Creditor's Name

      Number            Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            I:1 Contingent
                                                            •    UnliquIdated
      City                           State   ZIP Code       U Disputed
 Who owes the debt? Check one.                              Nature of lien. Check all that apply.
 U Debtor 1 only                                           U An agreement you made (such as mortgage or secured
 U Debtor 2 only                                             car loan)
 U Debtor 1 and Debtor 2 only                              U Statutory lien (such as tax lien, mechanic's lien)
 El At least one of the debtors and another                U Judgment lien from a lawsuit
                                                           U Other (including a right to offset)
 U Check if this claim relates to a
    community debt
 Date debt was Incurred                                    Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:


Official Form 1060                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of
            Case 22-55367-wlh                        Doc 15         Filed 07/27/22 Entered 07/27/22 13:57:56                                             Desc Main
                                                                   Document      Page 26 of 54
Debtor 1                                                                                                         Case number (Ilknown)
                  First Name     Middle Name           Last Name


               Additional Page                                                                                             Column A               Column B              Column C
Part 1:                                                                                                                    Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                                   that supports this    portion
                                                                                                                           Do not deduct the
               by 2.4, and so forth.                                                                                       value of collateral.   claim                 If any

                                                       Describe the property that secures the claim:
     Creditor's Name


     Number            Street


                                                       As of the date you file, the claim is: Check all that apply.
                                                       U    Contingent
     City                        State    ZIP Code     •    Unliquidated
                                                       U    Disputed

 Who owes the debt? Check one.                         Nature of lien. Check all that apply.
 U     Debtor I only                                   O    An agreement you made (such as mortgage or secured
 U     Debtor 2 only                                        car loan)
 U     Debtor 1 and Debtor 2 only                      U    Statutory lien (such as tax lien, mechanic's lien)
 U     At least one of the debtors and another         U    Judgment lien from a lawsuit
                                                       U    Other (including a right to offset)
       Check if this claim relates to a
       community debt

 Date debt was Incurred                                Last 4 digits of account number
                            =

                                                       Describe the property that secures the claim:
     Creditor's Name


     Number            Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       U    Contingent
                                                       •    Unliquidated
     City                        State    ZIP Code     U Disputed
 Who owes the debt? Check one.
                                                       Nature of lien. Check all that apply.
 U     Debtor 1 only
                                                       U   An agreement you made (such as mortgage or secured
 U     Debtor 2 only                                       car loan)
 U     Debtor 1 and Debtor 2 only                      U    Statutory lien (such as tax lien, mechanic's lien)
 U     At least one of the debtors and another         O   Judgment lien from a lawsuit
                                                       U   Other (including a right to offset)
 •     Check if this claim relates to a
       community debt

 Date debt was incurred                                Last 4 digits of account number
                                                                                     ----------
                                                       Describe the property that secures the claim:
     Creditor's Name


     Number            Street


                                                       As of the date you file, the claim is: Check all that apply.
                                                       U   Contingent
     City                        State    ZIP Code     •   Unliquidated
                                                       U   Disputed

 Who owes the debt? Check one.                         Nature of lien. Check all that apply.
 U     Debtor 1 only                                   U   An agreement you made (such as mortgage or secured
 •     Debtor 2 only                                       car loan)
 U     Debtor 1 and Debtor 2 only                      U   Statutory lien (such as tax lien, mechanic's Ilen)
 U     At least one of the debtors and another         U   Judgment lien from a lawsuit
                                                       U   Other (including a right to offset)
 U Check if this claim relates to a
   community debt
 Date debt was incurred                                Last 4 digits of account number

            Add the dollar value of your entries in Column A on this page. Write that number here:
            If this is the last page of your form, add the dollar value totals from all pages.
            Write that number here:

Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page       of
           Case 22-55367-wlh               Doc 15            Filed 07/27/22 Entered 07/27/22 13:57:56                                  Desc Main
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Debtor 1
                                                            oti+                                Case number iflaiowni
                                                Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                      Rzt,5                                                                On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last 4 digits of account number V      et

                            tpu        6112--
      Number      Street



       VATA9';ICA°11V-                             61+                        4?71
      City                                         State           ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

      Name                                                                                 Last 4 digits of account number


      Number      Street




      City                                         State           ZIP Code


Li    Name
                                                                                          On which line in Part 1 did you enter the creditor?

                                                                                          Last 4 digits of account number


      Number      Street




      City                                         State           ZIP Code


LI    Name
                                                                                          On which line in Part 1 did you enter the creditor?

                                                                                          Last 4 digits of account number_


      Number      Street




     City                                          State           ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

     Name                                                                                 Last 4 digits of account number


     Number       Street




     City                                         State            ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

     Name                                                                                 Last 4 digits of account number


     Number       Street




     City                                         State            ZIP Code



Official Form 1060                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
             Case 22-55367-wlh                       Doc 15        Filed 07/27/22 Entered 07/27/22 13:57:56                                      Desc Main
                                                                  Document      Page 28 of 54
      Fill in this information to identify your case:
                             i

      Debtor 1            c  (44..7\
                         First Name                 Middle Nam                 Last Name

      Debtor 2
      (Spouse, If filing) First Name                Middle Name                Last Name


      United States Bankruptcy Court for the:    I/L'I1't-V1 District of
                                                                                                                                                  0   Check if this is an
      Case number
      (If known)                                                                                                                                      amended filing


 Official Form 1 06E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:            List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
                  o. Go to Part 2.
         U Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                   Total claim   Priority     Nonpriority
                                                                                                                                                 amount       amount
2.1
                                                                    Last 4 digits of account number
           Priority Creditor's Name

                                                                    When was the debt incurred?
           Number            Street

                                                                    As of the date you file, the claim is: Check all that apply.

           City                          State       ZIP Code
                                                                    CIContingent
                                                                    • Unliquidated
           Who incurred the debt? Check one.
                                                                    O Disputed
           O Debtor 1 only
           O Debtor 2 only                                          Type of PRIORITY unsecured claim:
           O Debtor 1 and Debtor 2 only                             •      Domestic support obligations
           0 At least one of the debtors and another                O Taxes and certain other debts you owe the government
           O Check if this claim is for a community debt            O Claims for death or personal injury while you were
           Is the claim subject to offset?                            intoxicated
           ▪ No                                                     O Other. Specify
           O Yes
2.2
                                                                    Last 4 digits of account number
           Priority Creditor's Name
                                                                    When was the debt incurred?
           Number           Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    O Contingent
           City                          State       ZIP Code       O Unliquidated
          Who incurred the debt? Check one.                         O Disputed
          CI Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
          O Debtor 2 only
                                                                    O Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                    O Taxes and certain other debts you owe the government
          0 At least one of the debtors and another
                                                                    O Claims for death or personal injury while you were
           O Check if this claim is for a community debt              intoxicated
          Is the claim subject to offset?                           O Other. Specify
          ▪ No
          0 Yes

Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of
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                •
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                                                                              Page 29 of 54
 Debtor 1                                                                                                Case number rinnowni
                                  Middle Name         Last Name

  Part 1:           Your PRIORITY Unsecured Claims — Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                         Total claim   Priority   Nonpriority
                                                                                                                                               amount     amount


                                                                  Last 4 digits of account number
      Priority Creditors Name
                                                                  When was the debt incurred?
      Number            Street
                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  CI   Contingent
      City                              State    ZIP Code         0    Unliquidated
                                                                  O Disputed
      Who incurred the debt? Check one.
          O   Debtor 1 only                                       Type of PRIORITY unsecured claim:
          O Debtor 2 only
                                                                  0    Domestic support obligations
          0 Debtor 1 and Debtor 2 only
                                                                  Li Taxes and certain other debts you owe the government
          0 At least one of the debtors and another               0 Claims for death or personal injury while you were
          U Check if this claim is for a community debt             intoxicated
                                                                  O Other. Specify
      Is the claim subject to offset?
      ▪       No
              Yes


                                                                  Last 4 digits of account number
      Priority Creditors Name
                                                                  When was the debt incurred?
      Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  O Contingent
      City                              State    ZIP Code         U    Unliquidated
                                                                  O Disputed
      Who incurred the debt? Check one.
      O       Debtor 1 only                                       Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                  0    Domestic support obligations
      0 Debtor 1 and Debtor 2 only                                0    Taxes and certain other debts you owe the government
      0 At least one of the debtors and another
                                                                  D Claims for death or personal injury while you were
      O Check if this claim is for a community debt                 Intoxicated
                                                                  O Other. Specify
      Is the claim subject to offset?
      O No
      0 Yes

                                                                  Last 4 digits of account number
      Priority Creditors Name
                                                                  When was the debt incurred?
      Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  O Contingent
      City                              State    ZIP Code         1:1 Unliquidated
                                                                  O Disputed
      Who incurred the debt? Check one.
      CI Debtor 1 only                                            Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                  0    Domestic support obligations
      0 Debtor 1 and Debtor 2 only                                CI   Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                   O Claims for death or personal injury while you were
      O Check if this claim is for a community debt                  intoxicated
                                                                  CI Other. Specify
      Is the claim subject to offset?
      •       No
      0 Yes

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  page   of
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 Debtor 1                                                                                               Case number orknovo
                                    Middle Name            Last Name

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

 3. k o any creditors have nonpriority unsecured claims against you?
      ICI   No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

                                                                                  Last 4 digits of account number
       Nonprionly Creditor's Name
                                                                                  When was the debt incurred?
       Number           Street

       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                   O Contingent
       Who incurred the debt? Check one.                                           •   Unliquidated
        O Debtor 1 only                                                            O Disputed
        O Debtor 2 only
        O Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                             U Student loans
        O Check if this claim is for a community debt                              O Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                             O Debts to pension or profit-sharing plans, and other similar debts
        LI No                                                                      O Other. Specify
        0 Yes
                                                                                  Last 4 digits of account number
       Nonpdority Creditor's Name                                                 When was the debt incurred?


       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code
                                                                                   O Contingent
       Who incurred the debt? Check one.                                           •   UnlIquIdated
                                                                                   O Disputed
        O Debtor 1 only
        O Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only
        0 At least one of the debtors and another                                 U Student loans
                                                                                  O Obligations arising out of a separation agreement or divorce
        •     Check if this claim is for a community debt                           that you did not report as priority claims
       Is the claim subject to offset?                                            O Debts to pension or profit-sharing plans, and other similar debts
        O No                                                                      O Other. Specify
        0 Yes
                                                                                                                      -----
4.3
                                                                                  Last 4 digits of account number
       Nonprionty Creditor's Name                                                                                       —     —   —     —
                                                                                  When was the debt Incurred?

       Number           Street

                                                                                  As of the date you file, the claim Is: Check all that apply.
       City                                             State          ZIP Code
                                                                                  O Contingent
       Who incurred the debt? Check one.
                                                                                  •    Unliquidated
        O Debtor 1 only
                                                                                  O Disputed
       O Debtor 2 only
       D Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another
                                                                                  O Student loans
       O Check if this claim is for a community debt                              O Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  O Debts to pension or profit-sharing plans, and other similar debts
       O No
                                                                                  CI   Other. Specify
       0 Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 page     of
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                                                                           I FR
                                                                                 Page 31 of 54
 Debtor 1                                                                                            Case number (6' known)
                First Name          Middle Name         Last Name


 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total claim



                                                                                  Last 4 digits of account number
      Nonpnonty Creditor's Name
                                                                                 When was the debt incurred?

      Number          Street
                                                                                  As of the date you file, the claim Is: Check all that apply.

      City                                           State          ZIP Code      U   Contingent
                                                                                  •   Unliquidated
      Who Incurred the debt? Check one.                                           U Disputed
      Li Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured Claim:
      U Debtor 1 and Debtor 2 only
                                                                                  U Student loans
      U At least one of the debtors and another
                                                                                  U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      Li Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             U Other. Specify
      U No
      U Yes




                                                                                  Last 4 digits of account number
      Nonpriodty Creditor's Name
                                                                                 When was the debt incurred?

      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.

      City                                           Stale          ZIP Code      U   Contingent
                                                                                  •   UnilquIdated
      Who incurred the debt? Check one.                                           U Disputed
      U Debtor 1 only
      U Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                  U Student loans
      U At least one of the debtors and another
                                                                                  U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      CI Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             U Other. Specify
      U No
      U Yes



                                                                                 Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                 When was the debt Incurred?

      Number         Street
                                                                                 As of the date you file, the claim is: Check all that apply.

      City                                           State          ZIP Code      U   Contingent
                                                                                  •   Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
      U Debtor 1 only
      U Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                 U Student loans
      U At least one of the debtors and another
                                                                                 U Obligations arising out of a separation agreement or divorce that
                                                                                   you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                 U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            U Other. Specify
      1:1 No
      U Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page    of
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 Debtor 1                                                                                         Case number (I known)
                First Name     middle Name           Last Name


               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U   Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured Claims

                                                                            Last 4 digits of account number

      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                         U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims


      City                                   State               ZIP Code
                                                                            Last 4 digits of account number



Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              page       of
       Case 22-55367-wlh                    Doc 15         Filed 07/27/22 Entered 07/27/22 13:57:56                       Desc Main
Debtor 1        r L
               First Name
                                r_c4
                             Middle Name
                                                         /Xlv1-/ it "0 Page 33 of 54
                                                          Document
                                                  Last Name
                                                                                        Case number (1known)


 Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                  Total claim


                6a.Domestic support obligations                             6a.
Total claims
from Part 1
                6b.Taxes and certain other debts you owe the
                   government                                               6b.

                6c.Claims for death or personal injury while you were
                   intoxicated                                              6c.

                6d.Other. Add all other priority unsecured claims.
                   Write that amount here.                                  6d. + $



                6e. Total. Add lines 6a through 6d.                         6e.




                                                                                  Total claim

                6f. Student loans                                           6f.
Total claims
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                  6g.    $
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                           6h.

                61. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                 6i.    $



                6j. Total. Add lines 6f through 61.                         6j.




Official Form 106EJF                              Schedule E/F: Creditors Who Have Unsecured Claims                                   page   of
            Case 22-55367-wlh                       Doc 15            Filed 07/27/22 Entered 07/27/22 13:57:56                                 Desc Main
                                                                     Document      Page 34 of 54

  Fill in this information to identify your case:


  Debtor                       (\
                                75
                                '
                                             lxuo                                     1-\--4P1   GN-fAi
                       First Name                   Middle Nam                   Last Name

  Debtor 2
  (Spouse If filing)   First Name                   Middle Name                  Last Name


  United States Bankruptcy Court for the:   Nv tk-debistriot           of   61


  Case number
  (If known)                                                                                                                                    U   Check if this is an
                                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        g1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        3
               Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



        Person or company with whom you have the contract or lease                                        State what the contract or lease is for


2.11
        Name


        Number            Street


        City                                State         ZIP Code

2.21
    1
        Name


        Number            Street


        City                                State         ZIP Code
2.31

        Name


        Number           Street


        City                                State        ZIP Code

2.4!
        Name


        Number           Street


        City                                State        ZIP Code
    !
2.5
    1
        Name


        Number           Street


        City                                State        ZIP Code


Official Form 106G                                  Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of
          Case 22-55367-wlh                         Doc 15           Filed 07/27/22 Entered 07/27/22 13:57:56                    Desc Main
                                                                    Document      Page 35 of 54
  Debtor 1       ‘ 6
                                -ACil,,kt                             AAturC-7)                 Case number (d known)
                  6t Name     Middle Name               Last Name



                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                           What the contract or lease is for

  22
    7
        Name


        Number       Street


        City                                State      ZIP Code

  2.

        Name


        Number       Street


        City                                State      ZIP Code

  2.

        Name


        Number       Street


        City                                State      ZIP Code

  2.

        Name


        Number       Street


        City                                State      ZIP Code




        Name


        Number       Street


        City                                State      ZIP Code

  2.

        Name


        Number       Street


        City                                State      ZIP Code




        Name


        Number       Street


        City                                State      ZIP Code




        Name


        Number       Street


        City                                State      ZIP Code



Official Form 106G                                  Schedule G: Executory Contracts and Unexpired Leases                            page   of
         Case 22-55367-wlh                            Doc 15             Filed 07/27/22 Entered 07/27/22 13:57:56                                     Desc Main
                                                                        Document      Page 36 of 54
  Fill in this information to identify your case:

  Debtor 1
                      First Name                     Middle Name                        Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name                        Last Name
                                                                                   ,

  United States Bankruptcy Court for the:       fl--9.r1-ttil      District of    61/

  Case number
  (If known)
                                                                                                                                                        121 Check if this is an
                                                                                                                                                            amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       pi No
       U Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       Ai No. Go to line 3.
       U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            •    No
            O Yes. In which community state or territory did you live?                                          Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                  City                                          State                               ZIP Code


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown In line 2 again as a codebtor only If that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                                      Check all schedules that apply:
 3.1
                                                                                                                      LI Schedule D, line
         Name
                                                                                                                       0   Schedule E/F, line
         Number            Street
                                                                                                                      0    Schedule G, line

         City                                                       State                            ZIP Code

 3.2
                                                                                                                      0    Schedule D, line
         Name
                                                                                                                      U Schedule E/F, line
         Number            Street                                                                                     0    Schedule G, line

         City                                                       State                            ZIP Code

3.3
                                                                                                                      0    Schedule D, line
         Name
                                                                                                                      0    Schedule E/F, line
         Number            Street                                                                                     0    Schedule G, line

         City                                                       State                            ZIP Code



Official Form 106H                                                               Schedule H: Your Codebtors                                                  page 1 of
          Case 22-55367-wlh             Doc 15       Filed 07/27/22 Entered 07/27/22 13:57:56                            Desc Main
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 Debtor 1                                                                            Case number (irknown)




                  Additional Page to List More Codebtors

        Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt

                                                                                           Check all schedules that apply:

                                                                                            0    Schedule D, line
         Name
                                                                                            0    Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

  3._
                                                                                            0    Schedule D, line
         Name
                                                                                            0    Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

  3._
                                                                                            0    Schedule D, line
         Name
                                                                                            U Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

  3._
                                                                                                 Schedule D, line
         Name
                                                                                            0    Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

  3._
                                                                                                 Schedule D, line
         Name
                                                                                            U Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

  3._
                                                                                            10 Schedule D, line
         Name
                                                                                                 Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         City                                   State                   ZIP Code

 3._
                                                                                            0    Schedule D, line
         Name
                                                                                            0    Schedule E/F, line

         Number       Street                                                                CI   Schedule G, line


         City                                   State                   ZIP Code
 11
                                                                                            Li Schedule D, line
         Name
                                                                                            0    Schedule E/F, line

         Number       Street                                                                0    Schedule G, line


         Ott                                    State                   ZIP Code




Official Form 106H                                      Schedule H: Your Codebtors                                           page    of
         Case 22-55367-wlh                    Doc 15         Filed 07/27/22 Entered 07/27/22 13:57:56                                        Desc Main
                                                            Document      Page 38 of 54

 Fill in this information to identify your case:


  Debtor 1             (r     O6V y
                     First Name
                                                      /1
                                              Middle Nam
                                                                      e,,./JLAAj* ''
                                                                       Last Name
                                                                                          -1ure
                                                                                           4c
  Debtor 2
  (Spouse, If filing) First Name              Middle Name              Last Nam


  United States Bankruptcy Court for the:            — District of    61
  Case number                                                                                              Check if this is:
  (If known)
                                                                                                                An amended filing
                                                                                                           0 A supplement showing postpetition chapter 13
                                                                                                                income as of the following date:
Official Form 1061                                                                                              MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


Ii. Fill in your employment
    information.                                                              Debtor 'I                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional            Employment status              U Employed                                           Employed
    employers.
                                                                           P      Not employed                                  Not employed
    Include part-time, seasonal, or
    self-employed work.
                                            Occupation
     Occupation may include student
     or homemaker, if it applies.
                                            Employer's name


                                            Employer's address
                                                                           Number Street                                 Number     Street




                                                                           City              State   ZIP Code            City                  State ZIP Code

                                            How long employed there?


 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.              2.

 3. Estimate and list monthly overtime pay.                                                  3. + $


 4. Calculate gross income. Add line 2 + line 3.                                             4.




Official Form 1061                                                   Schedule I: Your Income                                                        page 1
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Debtor 1
                                  0-6(                               tI    i                      Case number (I known)
                First Name    Middle Name        Last Name



                                                                                              For Debtor 1                For Debtor 2 or
                                                                                                                          non-filing spouse
    Copy line 4 here                                                               4 4.       $

 6. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                5a.     $                             $
     5b. Mandatory contributions for retirement plans                                 5b.     $                             $
     5c. Voluntary contributions for retirement plans                                 5c.     $                             $
     5d. Required repayments of retirement fund loans                                 5d.     $                             $
     5e. Insurance                                                                    5e.     $                             $
     5f. Domestic support obligations                                                 5f.     $                             $
     5g. Union dues                                                                   5g.     $                             $
     5h. Other deductions. Specify:                                                   5h. + $                             + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.       6.     $                             $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.     $


 a. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                        8a.
     8b. Interest and dividends                                                       8b.
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                       8c.
     8d. Unemployment compensation                                                    8d.
     8e. Social Security                                                              8e.
     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                   8f.     $

     8g. Pension or retirement income                                                 8g.     $

     8h. Other monthly Income. Specify:                                                8h. + $

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + 8h.             9.

10.Calculate monthly income. Add line 7 + line 9.
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.          10.
                                                                                             Ls
11.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                              11.   $
12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                     12.
                                                                                                                                                Combined
                                                                                                                                                monthly income
 13.Do you expect an increase or decrease within the year after you file this form?
     U No.
     U Yes. Explain:


Official Form 1061                                               Schedule 1: Your Income                                                            page 2
           Case 22-55367-wlh                      Doc 15             Filed 07/27/22 Entered 07/27/22 13:57:56                                      Desc Main
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    Fill in this information to identify your case:

    Debtor 1            CGIA7V_                                               1),--2-11/V14,(14(12
                       First Name                 Middle Nam                     Last Name                      Check if this is:
    Debtor 2
    (Spouse, If filing) First Name                Middle Name                    Last Name
                                                                                                                LI   An amended filing
                                              r                                                                 LI A supplement showing postpetition chapter 13
    United States Bankruptcy Court for the:                     District of    6/ VI-                              expenses as of the following date:
    Case number                                                                                                      MM / DD/ YYYY
    (If known)




  Official Form 106J
  Schedule J: Your Expenses                                                                                                                                    12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

  Part 1:             Describe Your Household

 1. Is this a joint case?

          No. Go to line 2.
          Yes. Does Debtor 2 live In a separate household?

                 LI No
                 U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                   Arhlo
                                                                                             Dependent's relationship to             Dependent's     Does dependent live
    Do not list Debtor 1 and                  O Yes. Fill out this information for           Debtor 1 or Debtor 2                    age             with you?
    Debtor 2.                                   each dependent
                                                                                                                                                     O No
    Do not state the dependents'
    names.                                                                                                                                           0 Yes

                                                                                                                                                     O No
                                                                                                                                                     O Yes
                                                                                                                                                     LI No
                                                                                                                                                     O Yes
                                                                                                                                                     U No
                                                                                                                                                     U Yes
                                                                                                                                                     LI No
                                                                                                                                                     LI Yes

 3. Do your expenses include
                                              LI No
    expenses of people other than
    yourself and your dependents?             O Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a. Real estate taxes                                                                                                    4a.
      4b. Property, homeowner's, or renter's insurance                                                                         4b.     $
      4c. Home maintenance, repair, and upkeep expenses                                                                        4c.     $
      4d. Homeowner's association or condominium dues                                                                          4d.     $

Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1
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 Debtor 1
                    (k    -k,                           (kvkA,A1                               Case number (frknown)
                   First Name     Middle Name   I     Last Name




                                                                                                                                     Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                        5.

  6. Utilities:
       sa.    Electricity, heat, natural gas                                                                           6a.       $
       6b. Water, sewer, garbage collection                                                                            6b.       $
       6c. Telephone, cell phone, Internet, satellite, and cable services                                              6c.              (.9 b
       6d. Other. Specify:                                                                                             6d.       $

  7. Food and housekeeping supplies                                                                                    7.

  8. Childcare and children's education costs                                                                          8.        $
  9. Clothing, laundry, and dry cleaning                                                                               9.        $        tO
10. Personal care products and services                                                                                10.       $ C9O
11. Medical and dental expenses                                                                                        ii.       $

12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                                                 $      5°
                                                                                                                       12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                 13.       $
14. Charitable contributions and religious donations                                                                   14.       $

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                              15a.      $
      15b. Health insurance                                                                                            15b.      $
      15c. Vehicle insurance

      15d. Other insurance. Specify:                                                                                   15:
                                                                                                                       1         :

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                         16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                                  17a.      $

      17b. Car payments for Vehicle 2                                                                                  17b.      $

      17c. Other. Specify:                                                                                             17c.      $

      17d. Other. Specify:                                                                                             17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                   18
                                                                                                                             '   $

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                          19.      $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.

      20a. Mortgages on other property                                                                                 20a.      $

      20b. Real estate taxes                                                                                           20b.      $
      20c. Property, homeowner's, or renter's insurance                                                                20c.      $
      20d. Maintenance, repair, and upkeep expenses                                                                    20d.      $
      20e. Homeowner's association or condominium dues                                                                 20e       $



Official Form 106J                                                 Schedule J: Your Expenses                                                         page 2
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                                                             Document      Page 42 of 54
                            /1/5(17


 Debtor 1       C11):‘                          - IA,iur (73                                Case number (i known)
                  st Name       Middle Name      Last Name




 21. Other. Specify:                                                                                                21.   +$


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                               22a.      $
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.

     22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.



 23. Calculate your monthly net income.
    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

    23b.    Copy your monthly expenses from line 22c above.                                                     23b.       $

    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

    0 No.
    0 Yes.        Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                              page 3
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  Fill in this information to identify your case:

  Debtor 1                                                         c--(Vvv\_- itYf',F2
                      First Name             Middle 7me                  Last Name                      Check if this is:
  Debtor 2
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                        0 An amended filing
                                                                                                        CI A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the:                  District of
                                                                                                            expenses as of the following date:
  Case number
  (If known)
                                                                                                            MM / DD/ YYYY



 Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                12/15

Use this form for Debtor 2's separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents In common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every
question.

 Part 1:           Describe Your Household

1. Do you and Debtor 1 maintain separate households?

            No. Do not complete this form.
            Yes

2. Do you have dependents?                  O   No
                                                                                     Dependent's relationship to             Dependent's     Does dependent live
  Do not list Debtor 1 but list all         0   Yes. Fill out this information for   Debtor 2:                               age             with you?
  other dependents of Debtor 2                  each dependent
  regardless of whether listed as a                                                                                                          1:1 No
  dependent of Debtor 1 on
                                                                                                                                             O Yes
  Schedule J.
  Do not state the dependents'                                                                                                               CI No
  names.                                                                                                                                     •  Yes

                                                                                                                                             D    No
                                                                                                                                             •    Yes
                                                                                                                                             1:1 No
                                                                                                                                             O Yes
                                                                                                                                             O No
                                                                                                                                             CI   Yes
3. Do your expenses include
                                            O No
   expenses of people other than
   yourself, your dependents, and           O Yes
   Debtor 1?

Part 2:        Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                             Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and
   any rent for the ground or lot.                                                                                     4.
   If not included in line 4:
   4a. Real estate taxes                                                                                               4a.    $
   4b. Property, homeowner's, or renter's insurance                                                                    4b.    $
   4c. Home maintenance, repair, and upkeep expenses                                                                   4c.    $
   4d. Homeowner's association or condominium dues                                                                     4d.    $

  Official Form 106J-2                          Schedule J-2: Expenses for Separate Household of Debtor 2                                               page 1
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 Debtor 1                                                                                  Case number (i known)
                   First Name    Middle Name       Last Name




                                                                                                                                 Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                    5.

  6. Utilities:
        6a. Electricity, heat, natural gas                                                                         6a.       $
        6b. Water, sewer, garbage collection                                                                       6b.       $
        6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.       $      (940
        6d. Other. Specify:                                                                                        6d.       $

  7. Food and housekeeping supplies                                                                                7.        $           .e2
                                                                                                                                        el

  8. Childcare and children's education costs                                                                      8.
  9. Clothing, laundry, and dry cleaning                                                                           9.
10. Personal care products and services                                                                            10.       $          ffen
11. Medical and dental expenses                                                                                    11.       $

12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.       $
14. Charitable contributions and religious donations                                                               14.       $

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                        15a.
        15b. Health insurance                                                                                      15b.
        15c. Vehicle insurance                                                                                     15c.      $
        15d. Other insurance. Specify:                                                                             15d.      $

16.     Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:                                                                                                   16.

17. Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                            17a.      $      r   ) (-15
        17b. Car payments for Vehicle 2                                                                            17b.      $

        17c. Other. Specify:                                                                                       17c.      $

        17d. Other. Specify:                                                                                       17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                               18
                                                                                                                         '   $

19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.      $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule      Your Income.

       20a. Mortgages on other property                                                                            20a.      $

       20b. Real estate taxes                                                                                      20b.      $
       20c. Property, homeowner's, or renter's insurance                                                           20c.      $
       20d. Maintenance, repair, and upkeep expenses                                                               20d.      $
       20e. Homeowner's association or condominium dues                                                            20e.      $



      Official Form 106J-2                     Schedule J-2: Expenses for Separate Household of Debtor 2                                            page 2
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     Debtor 1                                                                                  Case number Of known)
                  First Name   Middle Name        Last Name




 21. Other. Specify:                                                                                                   21.   +$


 22. Your monthly expenses. Add lines 5 through 21.
     The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
     total expenses for Debtor 1 and Debtor 2.                                                                         22.



 23. Line not used on this form.




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?




ow
 _ iu Yes.         Explain here:    wvyk1 Yov{u:)-                                          r rt j




      Official Form 106J-2                   Schedule J-2: Expenses for Separate Household of Debtor 2                                   page 3
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Fill in this information to identify your case:


Debtor 1              C1117'6
                      First Name              Middle Nam                       Last Name

Debtor 2
(Spouse, if filing)   First Name              Middle Name                      Last Name


United States Bankruptcy Court for the: 1(1.\)-(14-V       ADistrict of   11   11--
Case number                                                                                                                                          0    Check if this is an
(If known)                                                                                                                                                amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                                     12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a Joint case, both are equally responsible for supplying correct Information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (If known).

    Part 1:           List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       Information below.

           Identify the creditor and the property that is collateral                           What do you intend to do with the property that   Did you claim the property
                                                                                               secures a debt?                                   as exempt on Schedule C? ,

          Creditor's                                                                           0 Surrender the property.                         )2(No
          name:                11\—S1^--AX LiA)
                                                                                                  Retain the property and redeem it.             0 Yes
         Description of
                                                                                                  Retain the property and enter into a
         property                                                                          ,      Reaffirmation Agreement.
         securing debt:             A--UVA) Ul\Y\
                                                                                               0 Retain the property and [explain]:


         Creditor's                                                                            0 Surrender the property.                         0 No
         name:
                                                                                               0 Retain the property and redeem it.              0 Yes
         Description of
         property                                                                              0 Retain the property and enter into a
         securing debt:                                                                          Reaffirmation Agreement.
                                                                                                  Retain the property and [explain]:



         Creditor's                                                                        CI Surrender the property.                            CI No
         name:
                                                                                           0 Retain the property and redeem it.                     Yes
         Description of
         property                                                                          0 Retain the property and enter into a
         securing debt:                                                                          Reaffirmation Agreement.
                                                                                           0 Retain the property and [explain]:

         Creditor's                                                                        0 Surrender the property.                             0 No
         name:
                                                                                           0 Retain the property and redeem it.                  0 Yes
         Description of
         property                                                                          0 Retain the property and enter into a
         securing debt:                                                                          Reaffirmation Agreement.
                                                                                           0 Retain the property and [explain]:


 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                                           page 1
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 Debtor 1                                                                                  Case number (It known)
                First Name     Middle Name      Last Name




   Part 2:      List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                             Will the lease be assumed?

       Lessor's name:                                                                                               U No
                                                                                                                    LI Yes
       Description of leased
       property:


       Lessor's name:                                                                                                  No
                                                                                                                    1:1 Yes
       Description of leased
       property:


       Lessor's name:                                                                                               U No

       Description of leased                                                                                        0 Yes
       property:


       Lessor's name:                                                                                               El No
                                                                                                                    IU Yes
      Description of leased
      property:


      Lessor's name:                                                                                                U No
                                                                                                                    LI Yes
      Description of leased
      property:


      Lessor's name:                                                                                                LI No
                                                                                                                    U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                0 No
                                                                                                                    El Yes
      Description of leased
      property:




  Part 3:       Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that Is subject to an unexpired lease.




      Signature of Debtor 1                                      Signature of Debtor 2

      Date 07' 1
           MM/ DD
                    )-5/)_oatd-
                      / YYYY
                                                                 Date
                                                                        MM/ DD/    YYYY




Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                           page 2
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  Fill in this information to identify your case:


  Debtor 1                                                      /r\R
                      First Name               Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name             Last Name


  United States Bankruptcy Court for the:IR>   rk'LlAbistrict   of

  Case number                                                                                                                       Li Check if this is an
                      (If known)                                                                                                       amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:        Summarize Your Assets

                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule NB: Property (Official Form 106A/B)
     la. Copy line 55, Total real estate, from Schedule NB


     lb. Copy line 62, Total personal property, from Schedule NB


     1c. Copy line 63, Total of all property on Schedule NB




kin             Summarize          Your Liabilities


                                                                                                                                 Your liabilities
                                                                                                                                 Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                 + $


                                                                                                        Your total liabilities



1:311           Summarize Your Income and Expenses

4. Schedule!: Your Income (Official Form 1061)
     Copy your combined monthly income from line 12 of Schedule!                                                                     s

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J                                                                          $   TD5


Official Form 106Sum                          Summary of Your Assets and Liabilities and Certain Statistical Information                 page 1 of 2
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   Debtor 1                                 LUJ                                                    Case number (if known)
                    First Name    Middle Name         Last Name




    Part 4:       Answer These Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
      )2I Yes


    7. What kind of debt do you have?

      (       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



    8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11: OR, Form 1228 Line 11: OR, Form 122C-1 Line 14.




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                           Total claim


           From Part 4 on Schedule E/F, copy the following:


          9a.Domestic support obligations (Copy line 6a.)


          9b.Taxes and certain other debts you owe the government. (Copy line 6b.)


          9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


          9d.Student loans. (Copy line 6f.)


          9e.Obligations arising out of a separation agreement or divorce that you did not report as
             priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +$


       9g.Total. Add lines 9a through 9f.




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                              page 2 of 2
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Fill in this information to identify your case:


Debtor 1
                                                                             A CO/43
                     rat Name          Middle Nam4            Last Name

Debtor 2
(Spouse, if filing) First Name         Middle Name            Last Name


United States Bankruptcy Court for the: l/WHAlipistrict of

Case number
(If known)

                                                                                                                                          lj   Check if this is an
                                                                                                                                               amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                     12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
       LI Yes. Name of person                                                        . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                         Signature (Offic)al Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.



                                 gt„
         Signature of Debtor 1                                   Signature of Debtor 2




 Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules
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  Fill   in this information to identify your case:                                                           Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
 Debtor 1
                      (01,                                         (2d-sa,u,v741, orcYc
                    First Name                                                Last Name
                                                                                                              O    1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name                      Last Name                       O 2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:   I/1'1MA')       District of   1(                                        Means Test Calculation (Official Form 122A-2).
 Case number                                                                                                  O 3. The Means Test does not apply now because of
 (If known)                                                                                                        qualified military service but it could apply later.


                                                                                                              U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         D Married and your spouse is NOT filing with you. You and your spouse are:
                    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
         income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                  Column A          Column B
                                                                                                                  Debtor 1          Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).
   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                      $
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, Including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                              Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                   $            $
         Ordinary and necessary operating expenses                        —$              — $
         Net monthly income from a business, profession, or farm               $
                                                                                                      copy4$
                                                                                                      here
                                                                                                                       6
  6. Net income from rental and other real property                           Debtor 1     Debtor 2
     Gross receipts (before all deductions)                                    $            $
     Ordinary and necessary operating expenses                            —$              — $
         Net monthly income from rental or other real property                                        Copy
                                                                                                      here+       4,

  7. Interest, dividends, and royalties



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                           page 1
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Debtor 1
                First Name     Middle Name   I
                                                      GAromA,A0Ar-i(-5
                                                    Last Name
                                                                                                Case number (If known)


                                                                                                    Column A                  Column B
                                                                                                    Debtor 1                  Debtor 2 or
                                                                                                                              non-filing spouse
   8. Unemployment compensation
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.




           Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.
                                                                                                                                                      Total current
                                                                                                                                                      monthly Income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11.                                                          Copy line 11 here+

               Multiply by 12 (the number of months in a year).                                                                                   x 12
      12b. The result is your annual income for this part of the form.                                                                  12b. I    $

   13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.


      Fill in the number of people in your household.

      Fill in the median family income for your state and size of household.                                                            13.
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


      14a.D       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3.




      14b.U       Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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Debtor 1                       11‘- e).          P-efN,             i'v\D-13                    Case number (   known)
             First Name      Middle Name         Last Name



               Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                   Signature of Debtor 1                                                       Signature of Debtor 2

                  Date                                                                         Date
                                                                                                      MM/ DD /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                page 3
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   Fill in this information to identify your case:

  Debtor 1                                                            07001-1-t4
                        First Name              Middle Na                  Last Name

  Debtor 2
  (Spouse, if filing)   First Name              Middle Name                Last Name


  United States Bankruptcy Court for the:     11-      4-filDistrict of   61

  Case number
   (If known)

                                                                                                        U Check if this is an amended filing




 Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


                 Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

   U No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
         submit this supplement with the signed Form 122A-1.
        Yes. Go to Part 2.

Part 2:          Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

        No. Go to line 3.
   U Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
          10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                    No. Go to line 3.
                 U Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
   d No.         Complete Form 122A-1. Do not submit this supplement.
        Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        U No. Complete Form 122A-1. Do not submit this supplement.
        D Yes. Check any one of the following categories that applies:

             U I was called to active duty after September 11, 2001, for at least              If you checked one of the categories to the left, go to
               90 days and remain on active duty.                                              Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
             U I was called to active duty after September 11, 2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
               90 days and was released from active duty on
                                                                                               Form 122A-1. You are not required to fill out the rest of
               which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
             U I am performing a homeland defense activity for at least 90 days.               exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
             •     I performed a homeland defense activity for at least 90 days,               540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ending on                        which is fewer than 540 days
                                                                                               If your exclusion period ends before your case is closed,
                   before I file this bankruptcy case.
                                                                                               you may have to file an amended form later.


Official Form 122A-1Supp                    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
